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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 ESZTER PRYOR, LOGAN KLINE,                      )
 MARISSA JOHNSON, SARAH BARKER,                  )
 and JANE DOES 5-50, on behalf of                )
 themselves and all others similarly situated,   )
                                                 )
        Plaintiffs,                              )     Case No. 1:18-cv-2113-WTL-MJD
                                                 )
 v.                                              )
                                                 )
 USA DIVING, INC., and                           )
 WILL BOHONYI,                                   )
                                                 )
        Defendants.                              )


                  ORDER GRANTING DEFENDANT USA DIVING, INC.’S
                     MOTION TO IMMEDIATELY STAY ACTION

        Defendant USA Diving, Inc., having filed its Motion to Immediately Stay Action, and the

 Court being duly advised hereby GRANTS said Motion.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that this action is hereby

 STAYED pursuant to 18 U.S.C. § 1595(b)(1) until the criminal action in the matter of State of

 Ohio v. Will Bohonyi, case number 18CR005888 before the Franklin County Court of the

 Common Pleas is fully adjudicated. All pending motions are DENIED without prejudice, and

 the Clerk is DIRECTED to administratively close this case. Counsel for Plaintiffs shall inform

 the Court within thirty (30) days of the final adjudication of said criminal action.


        IT IS SO ORDERED.


 Dated: 12/28/2018



 cc:    All counsel of record, by operation of the Court’s ECF system
